     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 1 of 12 Page ID #:37



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 4

 5

 6    US DISTRICT COURT
      CENTRAL DISTRICT OF CALIFORNIA
 7    SANTA ANA DIVISION
 8

 9                                            )   Case No.: 8:21-cv-00120
      DEFEND OUR FREEDOMS                     )
10                                            )   DEFEND OUR FREEDOMS
      FOUNDATION,                             )   FOUNDATION V SENATOR CHUCK
11                                            )   SCHUMER AND VICE PRESIDENT
                  Plaintiff,                  )   KAMALA HARRIS
12                                            )   Hon. Cormac J. Carney Presiding
            vs.                               )
13                                            )
      SENATOR CHUCK SCHUMER IN                )
14
      HIS CAPACITY AS THE SENATE
15
      MAJORITY LEADER, VICE
16
      PRESIDENT KAMALA HARRIS IN
17
      HER CAPACITY AS THE
18
      PRESIDENT OF THE SENATE,
19
                  Defendants
20

21

22
       AMENDED NOTICE OF MOTION AND MOTION FOR PRELIMINARY
23
         INJUNCTION-STAY OF THE SENATE IMPEACHMENT TRIAL OF
24
           PRIVATE CITIZEN DONALD TRUMP, WHO IS NO LONGER IN
25
       OFFICE, UNTIL THE MATTER IS HEARD ON THE MERITS AND THE
26
                         TRIAL IS PERMANENTLY VACATED
27

28

                      DOFF v Schumer, Harris Motion for Preliminary Injunction   1
     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 2 of 12 Page ID #:38




 1
      TO ALL PARTIES AND THEIR COUNSEL OF RECORD, PLEASE
      TAKE NOTICE that, on FEBRUARY 1, 2021, at 1:30 PM or as soon
 2    thereafter as counsel may be heard by the Honorable CORMAC J.
 3    CARNEY, Courtroom 9B, United States District Court for the Central
      District of California, 411 West Fourth Street, Santa Ana, CA 92701-4516.
 4
      DUE TO THE URGENCY OF THE MATTER, namely a senate trial of
 5    private individual Donald J. Trump, scheduled to start on February 8, the
 6
      counsel for the plaintiff, seeking to STAY it via preliminary injunction
      attached herein, was not able to have a Meet and Confer with the opposing
 7    counsel yet and will seek to do so at the earliest time it will be humanly
 8    possible.
 9
        MOTION FOR PRELIMINARY INJUNCTION-STAY OF THE SENATE
10
         IMPEACHMENT TRIAL OF PRIVATE CITIZEN DONALD TRUMP,
11
       WHO IS NO LONGER IN OFFICE, UNTIL THE MATTER IS HEARD ON
12
           THE MERITS AND THE TRIAL IS PERMANENTLY VACATED
13

14
                  MEMORANDUM OF POINTS AND AUTHORITIES

15
           DEFENDANTS WERE SERVED WITH THE COMPLAINT AND

16
                                        SUMMONS

17
       Defendants were served with the complaint and summons via US Attorney’s

18
         office, Attorney General and Agency. See, proof of service attached as an

19
       Exhibit 1. Defendants will be represented by the US Attorney’s office for the

20
         Central District of California and the US Attorney’s office was served on

21
        01.28.2021 at 11:48 AM and signed for by US Attorney’s office employee F.

22
      Delarosa. (Exhibit 1). Additionally, the US Attorney’s office requires TROs to

23
        be served electronically at usacac.civil-tronotice@usdoj.gov and they were

24
             served electronically with the pleadings attached at usacac.civil-

25
         tronotice@usdoj.gov. The matter is urgent, Plaintiff, DOFF, is seeking to

26
        STAY an unconstitutional trial of former president Donald Trump, which

27
      starts on 02.08.2021, the only motion hearing date prior to that is 02.01.2021.

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                      DOFF v Schumer, Harris Motion for Preliminary Injunction         2
     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 3 of 12 Page ID #:39




 1      As such, the plaintiff respectfully requests this honorable court to hear this
 2                              motion on or before 02.01.2021
 3

 4                    HISTORY AND BACKGROUND OF THE CASE
 5
       Plaintiff, Defend Our Freedoms Foundation (Hereinafter "DOFF") is a California

 6       Foundation. Multiple members of the foundation are among nearly 75 million
 7
         Americans, roughly half of the U.S. voters, who voted for Donald Trump for
 8

 9     President in 2020 and intend to vote for him in 2024 or other future elections, and
10
        they argue that a senate trial for removal from office of Donald Trump after he
11

12    already left office, is moot, unconstitutional and utterly void of any legal basis, and
13
         aimed at depriving his voters, members of the DOFF foundation, of their first
14
      amendment right to vote for him and have him elected in 2024 or at any other time
15

16                                        in the future.
17
      Defendants are Senator Chuck Schumer (Hereinafter "Schumer") who is sued in
18

19    his capacity as the Senate Majority Leader and Vice President Kamala Harris
20
      (Hereinafter "Harris") who is sued in her capacity as the President of the Senate.
21

22
      Both Schumer and Harris are in charge of the unconstitutional trial of private

23    citizen Donald Trump to remove him from the position of the US President after he
24
      already left the position of the US President. Forty Fifth President of the United
25

26    States, Donald Trump, ended his presidency at 12:00 Noon on 01.20.2021. Joe
27
      Biden has been sworn in as the Forty Sixth President of the United States.
28

                       DOFF v Schumer, Harris Motion for Preliminary Injunction             3
     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 4 of 12 Page ID #:40




 1
      US Senate is currently seeking to try Donald Trump, a private individual, who is

 2    no longer in office.
 3
      The U.S. Constitution gives the U.S. Senate the right to conduct a trial in only one
 4

 5    instance, under Article 2, Section 4 of the US Constitution, which states: "The
 6
      President, Vice President and all civil Officers of the United States, shall be
 7

 8    removed from Office on Impeachment for, and Conviction of, Treason, Bribery,
 9
      or other high Crimes and Misdemeanors." (emphasis added).
10
       The plain language of the US constitution allows the US Senate to conduct trial of
11

12        a sitting president, not a private individual, and gives it only one remedy,
13
       removal from office. It does not give the U.S. Senate a constitutional right to try a
14

15      private individual who is no longer in office. A planned trial is unconstitutional
16
         and with no legal basis. This trial, based on admissions of the Senate majority
17

18
           leader, is planned to prevent Donald Trump from running for office again

19      https://www.reuters.com/article/us-usa-trump-impeachment-schumer/schumer-
20
           says-senate-could-vote-on-barring-trump-from-running-for-office-again-
21

22       idUSKBN29I33P. Such unconstitutional and illegal actions by the Senate will
23
             deprive the members of the Defend Our Freedoms Foundation of their
24

25       Constitutional First Amendment right of political speech, namely, to vote for
26
                               Donald Trump in future elections.
27

28

                       DOFF v Schumer, Harris Motion for Preliminary Injunction              4
     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 5 of 12 Page ID #:41




 1                                         ARGUMENT
 2     “The function of a preliminary injunction is to maintain the status quo ante litem
 3       pending a determination of the action on the merits. The status quo is the last
 4     uncontested status preceding the commencement of the controversy.” Washington
 5      Capitals Basketball Club, Inc. v. Barry, 419 F.2d 472, 476 (9th Cir. 1969). The
 6    plaintiff is seeking to stay the senate trial of private citizen Donald Trump until the
 7               matter can be heard on the merits and the trial can be vacated.
 8                                    LEGAL STANDARD
 9        Federal Rule of Civil Procedure 65 provides that: (1) The court may issue a
10      preliminary injunction only on notice to the adverse party and (2) before or after
11        beginning a hearing on a motion for a preliminary injunction, the court may
12     advance the trial on the merits and consolidate it with the hearing. Fed. R. Civ. P.
13         65. “The basis for injunctive relief [] in the federal courts has always been
14          irreparably injury and the inadequacy of legal remedies.” Weinberger v.
15    RomeroBarcelo, 456 U.S. 305, 312 (1982). “District courts in the Ninth Circuit use
16     two tests when analyzing a request for a temporary or preliminary injunction: the
17     ‘traditional-’ and ‘alternative-’ criteria tests.” Imperial v. Castruita, 418 F.Supp.2d
18     Under the former test, the plaintiff must show "(1) a strong likelihood of success
19       on the merits, (2) the possibility of irreparable injury to plaintiff if preliminary
20        relief is not granted, (3) a balance of hardships favoring the plaintiff, and (4)
21     advancement of the public interest (in certain cases)." Id. Under the alternative, or
22     “serious questions” test, “a preliminary injunction is appropriate when a plaintiff
23        demonstrates that “serious questions going to the merits were raised and the
24     balance of hardships tips sharply in the plaintiff’s favor.” Towery v. Brewer, 672
25       F.3d 650, 657 (9th Cir. 2012). This approach requires that the elements of the
26     preliminary injunction test be balanced, so that a stronger showing of one element
27     may offset and a weaker showing of another.” Id. Under either test, the plaintiff is
28

                        DOFF v Schumer, Harris Motion for Preliminary Injunction                5
     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 6 of 12 Page ID #:42




 1      likely to succeed on the merits and is likely to suffer irreparable harm, balancing
 2                            the scales heavily in plaintiff's favor.
 3             PLAINTIFF IS LIKELY TO PREVAIL ON THE MERITS
 4
      As stated previously, The US Constitution gives the US Senate the right to

 5    conduct a trial in only one instance, under         Article 2, Section 4 of the US
 6
      Constitution, which states: "The President, Vice President and all civil Officers of
 7

 8    the United States, shall be removed from Office on Impeachment for, and
 9
      Conviction of, Treason, Bribery, or other high Crimes and Misdemeanors."
10

11    (emphasis added). As Donald Trump is no longer in office, the senate does not
12
      have any legal or Constitutional authority to try him and, as such, the defendants
13
      cannot possibly prevail on the merits.
14

15    Furthermore, actions of the defendants are bordering on criminal under Title 18,
16
      Section 242 of the US Constitution, Deprivation of Rights under the Color of
17

18    Authority.    By exceeding their constitutional authority and trying a private
19
      individual Donald Trump, they are seeking to deprive him of his constitutional
20

21
      right to run for office in the future and they are seeking to deprive 75 million of his

22    voters of their right to vote for him in the future. A monetary legal remedy would
23
      be inadequate in this case, as 75 million Americans would be deprived of their first
24

25    amendment right to political free speech, their right to vote for the candidate of
26
      their choice. As such an injunctive equitable relief is needed.
27

28

                        DOFF v Schumer, Harris Motion for Preliminary Injunction              6
     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 7 of 12 Page ID #:43




 1     ABSENT THE INJUNCTION THE PLAINTIFF WILL BE IRREPARABLY
 2                                         HARMED
 3    Nancy Pelosi, Speaker of the House, has announced that the Articles of
 4    Impeachment of Donald Trump, who is currently a private individual, will be
 5    transmitted to the US Senate on Monday, 01.25.21. the trial is expected to be held
 6    shortly thereafter. If Donald Trump is convicted and in separate vote is prevented
 7    from running for president again, the plaintiffs, members of the Defend Our
 8    Freedoms Foundation, would be unable to exercise their First Amendment right of
 9    political speech and their right to vote for Donald Trump. The plaintiffs will suffer
10    irreparable harm.
11           THE BALANCE OF EQUITES TIPS IN PLAINTIFF'S FAVOR
12    The balance of equities tips in plaintiff's favor. "If the balance tips decidedly
13    toward plaintiffs, and if plaintiffs have raised serious enough questions to require
14    litigation, the injunction should issue.” Aguirre v. Chula Vista Sanitary Service &
15    Sani-Tainer, Inc., 542 F.2d 779, 781 (9th Cir. 1976) [emphasis added]. Defendants
16    will not suffer any harm. Article 2, section 4 of the US constitution does not give
17    the defendants any right whatsoever to try a private citizen who is no longer in
18    office. Further, even if Donald Trump were to be in office, and he isn't, the only
19    remedy available to the senate would have been the removal from office. As such,
20    defendants will not suffer any harm, while the plaintiffs will suffer irreparable
21    harm, as they will be deprived of their first amendment right to free speech, their
22    right to vote for Donald Trump in future elections, as such the balance of equities
23    tip in favor of the plaintiffs.
24

25    THE PUBLIC INTEREST NECESSITATES PRELIMINARY INJUNCTION
26

27    Free speech, particularly free political speech represented in voting, is in public
28    interest. Moot, illegal and unconstitutional trial of private citizen Donald Trump,
                        DOFF v Schumer, Harris Motion for Preliminary Injunction          7
     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 8 of 12 Page ID #:44




 1    conducted with ulterior motive of depriving him from running for federal public
 2    office in the future and depriving 75 million of his voters of their right to vote for
 3    him again in the future, is clearly against the public policy, which necessitates
 4    granting of the injunction. Moreover, a remedy to bar a person from running for
 5    President in the future would not be available to the U.S. Senate, as Article 2,
 6    Section 1, Clause V, only requires that a President meet just 3 qualifications: Be
 7    35 years of age or older, 14 years a resident of the United States, and be a
 8    NATURAL born citizen. There is no exception/caveat that the President must
 9    NOT have been impeached by the U.S. Senate. Only a Constitutional Amendment
10    can add such a requirement to run for the US president.
11    Additionally, preservation of the US Constitution and constitutional principles is in
12    the public interest. Here, preliminary injunction will uphold Article 2, Section 4 of
13    the US Constitution, based on which only the sitting president can be tried in
14    impeachment trial, not a private individual.
15    Furthermore, illegal and unconstitutional trial of a private individual, who is no
16    longer in office will create a dangerous precedent reflecting on multiple future
17    federal appointments. Arguendo, a brilliant jurist, who does not hold a federal
18    position, might be tried in such a sham senate trial with the only goal of preventing
19    him from ascending to the Supreme Court or Federal Bench in general in the
20    future. A party in power may hold such preemptive trials to prevent multiple future
21    candidates for federal office of ever taking office in the future, and as such the
22    whole party that is out of power will be emasculated. Such actions are clearly
23    against the public policy.
24
                                         CONCLUSION
25

26    Plaintiffs’ motion for a preliminary injunction should be granted. The court
      should STAY the senate trial of a private citizen Donald Trump until the
27
      matter is fully heard on the merits and the trial is vacated.
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                       DOFF v Schumer, Harris Motion for Preliminary Injunction           8
     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 9 of 12 Page ID #:45




 1    Respectfully submitted
                                                  Dated this 01.28.21
 2                                                            _______________________
                                                              /s/ Orly Taitz, ESQ
 3                                                            29839 Santa Margarita, ste
                                                              100
 4                                                            Rancho Santa Margarita, CA
                                                              92688
 5                                                            ph 949-683-5411 fax 949-
                                                              766-7603
 6                                                            orly.taitz@gmail.com
                                                              Counselor for the plaintiff
 7

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                                     PROOF OF SERVICE
16
      I, Orly Taitz, counselor for the plaintiff in the legal action herein, served the
17
      defendants with the attached pleadings by first class mail as follows:
18
         1. Chuck Schumer
19
      c/o US Attorney
20
      Civil Process Desk
21
      300 N. Los Angeles str. Ste 7516
22
      Los Angeles, CA 90012
23
      and at
24
      322 Hart Senate Office Building
25    Washington, D.C. 20510
26    2. Kamala Harris
27    c/o US Attorney
28

                        DOFF v Schumer, Harris Motion for Preliminary Injunction          9
     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 10 of 12 Page ID #:46




 1     Civil Process Desk
 2     300 N. Los Angeles str. Ste 7516
 3     Los Angeles, CA 90012
 4     and at
 5
       1600 Pennsylvania Ave NW Washington DC 20006
       Additionally, via electronic service at US Attorneys’ office
 6     usacac.civil-tronotice@usdoj.gov
 7

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                       DOFF v Schumer, Harris Motion for Preliminary Injunction   10
     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 11 of 12 Page ID #:47




 1                                  PROPOSED ORDER
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                     DOFF v Schumer, Harris Motion for Preliminary Injunction    11
     Case 8:21-cv-00120-CJC-KES Document 13 Filed 01/28/21 Page 12 of 12 Page ID #:48




 1                              US DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 2                             SANTA ANA DIVISION
 3

 4                                             )   Case No.: 8:21-cv-00120
       DEFEND OUR FREEDOMS                     )
 5                                             )   DEFEND OUR FREEDOMS
       FOUNDATION,                             )   FOUNDATION V SENATOR CHUCK
 6                                             )   SCHUMER AND VICE PRESIDENT
                   Plaintiff,                  )   KAMALA HARRIS
 7                                             )
            vs.                                )
 8                                             )
       SENATOR CHUCK SCHUMER IN                )
 9
       HIS CAPACITY AS THE SENATE
10
       MAJORITY LEADER, VICE
11
       PRESIDENT KAMALA HARRIS IN
12
       HER CAPACITY OF THE
13
       PRESIDENT OF THE SENATE,
14
                   Defendants
15

16

17
                                              Order
18
       Defendants, Senator Chuck Schumer, in his capacity as the Senate Majority leader,
19
        and Kamala Harris, in her capacity as the President of the Senate, are ordered to
20
         STAY impending senate impeachment trial of private citizen Donald J. Trump
21
                                pending adjudication on the merits
22
                                       ________________
23
                                 /s/ Honorable Cormac J. Carney
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                      DOFF v Schumer, Harris Motion for Preliminary Injunction          12
